                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                    ___________________

                                        No: 18-2831
                                    ___________________

                                 In re: Christopher Bruce, et al.

                                        Petitioners
______________________________________________________________________________

       Appeal from U.S. District Court for the Southern District of Iowa - Des Moines
                                  (4:18-cv-00040-RGE)
______________________________________________________________________________

                                         JUDGMENT


Before LOKEN, SHEPHERD and KELLY, Circuit Judges.


       The petition for writ of mandamus and the motion for leave to proceed on appeal in

forma pauperis are denied as moot. Mandate shall issue forthwith.

                                                    October 04, 2018




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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